            Case 2:19-cv-02553-JMY Document 21 Filed 05/06/22 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ex rel.                     :       CIVIL ACTION
ELLSWORTH ASSOCIATES, LLP,                           :
                                                     :
            v.                                       :       NO 19-cv-2553
                                                     :
CVS HEALTH CORPORATION, et al.,                      :      FILED UNDER SEAL

                                                 ORDER

       NOW, this 6th day of May, 2022, the United States having notified the Court under the

False Claims Act (31 U.S.C. § 3720(b)(4)) that the United States is declining to intervene in this

qui tam action, it is ORDERED that:

       1.        The Second Amended Complaint shall be UNSEALED and served upon the

defendants by relator Ellsworth Associates, LLP.

       2.        All other contents of the Court’s file in this action—including the United

States’ five uncontested evaluation period extension applications (with accompanying

briefs) dated August 2019, February 2020, August 2020, February 2021, and August 2021, as

well as relator’s initial Complaint and Amended Complaint—shall remain SEALED and

not be made public or served upon the defendants or the relator, except for the following, which

the relator will serve upon the defendants only after service of the Second Amended Complaint:

(a) this Order; (b) the United States’ February 22, 2022 “Notice of Election to Decline

Intervention”; and (c) the United States’ April 8, 2022 “Second Notice of Election to Decline

Intervention.”

       3.        The seal shall be lifted as to all other matters that occur in this action after the

date of this Order.
            Case 2:19-cv-02553-JMY Document 21 Filed 05/06/22 Page 2 of 3



       4.       The parties shall serve all pleadings and motions filed in this action, including

supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The

United States may order any deposition transcript(s) and is entitled to intervene in this action, for

good cause, at any time.

       5.       The parties shall serve all notices of appeal upon the United States.

       6.       All orders of this Court will be sent to the United States.

       7.       Should the relator, the defendants, or any later-named defendant(s) propose that

this action be dismissed, settled, or otherwise discontinued, the Court will solicit the written

consent of the United States before ruling or granting the Court’s approval.

       8.       The Clerk shall serve a copy of this Order on only counsel for the United States

and counsel for the relator.




IT IS SO ORDERED.


                                              /s/ Judge John Milton Younge
                                               HONORABLE JOHN MILTON YOUNGE
                                               Judge, United States District Court
Case 2:19-cv-02553-JMY Document 21 Filed 05/06/22 Page 3 of 3
